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				IN RE RETIREMENT OF THE HONORABLE CLANCY SMITH2017 OK CR 11Case Number: CCAD-2017-4Decided: 06/01/2017IN RE: RETIREMENT OF THE HONORABLE CLANCY SMITH
Cite as: 2017 OK CR 11, __  __

				

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ORDER COMMEMORATING SERVICE


¶1 NOW, on this 1st day of June, 2017, the Oklahoma Court of Criminal Appeals, sitting en banc to honor the stewardship of Judge Clancy Smith for her many years of service to the citizens of the State of Oklahoma, directs the following comments of her colleagues and citation of appreciation to be spread of record to commemorate her steadfast devotion to the Oklahoma Judicial System.

COMMENTS OF THE COURT

¶2 Presiding Judge Gary L. Lumpkin: Clancy, you have invigorated the Court with your zest for life, energetic engagement in the interpretation of the law and talent for bringing people together. Your experience as a Special Judge and District Judge has proven valuable to the Court as it has wrestled with issues regarding the practical application of the law in our trial courts. Your spirit, engagement and presence will be greatly missed. May you be blessed with many years of rewarding retirement as you migrate to this next phase of your life.

¶3 Vice-Presiding Judge David B. Lewis: Clancy, congratulations on your well-earned retirement. You have truly been an asset to the Court. Your contribution to the Court will far exceed your tenure on the Court. I personally have valued not just your commitment to the rule of law but your commitment to fairness in its application. You will be missed. I join all Oklahomans in thanking you for your service.

¶4 Judge Arlene Johnson: Clancy, you are a dedicated and compassionate judge and treasured friend. I will miss your wit and wisdom on the bench and in deliberations. We are a better court because of your service and leadership. You will be sorely missed. Best wishes on your well-earned and deserved retirement.

¶5 Judge Robert L. Hudson: Judge Smith, I have served on the Court with you for a little more than two years. You were the Presiding Judge when I was sworn in. I will never forget, and will always be indebted to you, for the warm welcome you extended me and the extra effort you put forth to assist me in getting acclimated to the Court. Your kindness and collegiality were of great comfort.

¶6 I have observed from day one your steady, diligent and professional work ethic. I have carefully watched and noted the dignity and class you exhibit. You have brought honor and respect to this Court, and have been nothing short of a stellar example for me.

¶7 We have certainly had our arguments, disputes and disagreements from time to time over issues in various cases. This is as it should be if we're doing our jobs. But you have always remained friendly, courteous and understanding. I will greatly miss our frank conversations, comments and debates with one another.

¶8 Thank you for your service to the Court and your friendship to me. May God bless you in your retirement and in the following chapters of your life.

CITATION OF APPRECIATION

¶9 WHEREAS, you were appointed to the Oklahoma Court of Criminal appeals on September, 1, 2010, to fill the unexpired term of Judge Charles S. Chapel; and

¶10 WHEREAS, you were named Presiding Judge January 1, 2015; and

¶11 WHEREAS, you are a native of Hugo, Oklahoma, and a graduate of Hugo High School; and

¶12 WHEREAS, you attended Oklahoma State University, receiving a bachelor's degree in English in 1964; and

¶13 WHEREAS, you taught high school English in Tulsa, Oklahoma, and Jacksonville, Florida; and

¶14 WHEREAS, you received your Juris Doctorate from the University of Tulsa College of Law in 1980; and

¶15 WHEREAS, after graduating from law school, you worked in the private practice of law from 1980 to 1994; and

¶16 WHEREAS, you served as a Special Judge in the Family Division of Tulsa County District Court from 1994 to 1998; and

¶17 WHEREAS, you received the Outstanding Family Law Judge Award from the Family Law Section of the Oklahoma Bar Association in 1996; and

¶18 WHEREAS, from 1998 to 2005, you served as a Special Judge in the Criminal Division in Tulsa County District Court, conducting preliminary hearings, arraignments, plea hearings, and bond hearings; and

¶19 WHEREAS, in 2005, Governor Brad Henry appointed you to be District Judge for the Fourteenth Judicial District; and

¶20 WHEREAS, from 2005 to 2010, you served in the Criminal Division of the District Court of Tulsa County and presided over more than 110 felony jury trials; and

¶21 WHEREAS, you are a member of the Tulsa County Bar Association, the Oklahoma Bar Association, and the American Bar Association; and

¶22 WHEREAS, you served as president of the Johnson-Sontag Chapter of the American Inns of Court for three years and received the James Sontag Professionalism Award in 2010; and

¶23 WHEREAS, in 2013, you received the OBA Award of Judicial Excellence and the University of Tulsa Law School Outstanding Senior Alumni Award in 2014; and

¶24 WHEREAS, the Court of Criminal Appeals is the Court of last resort and possesses exclusive jurisdiction in the appeal of criminal cases in the State of Oklahoma;

¶25 NOW, THEREFORE, the judges of the Oklahoma Court of Criminal Appeals, sitting en banc, do herewith extend our appreciation for your many years of devotion, service, and contribution to this Court and the citizens of the State of Oklahoma, and commend your tireless efforts on behalf of the Court, which has contributed to its efficiency, stature, and prestige.

¶26 IT IS SO ORDERED.

¶27 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 1st day of June, 2017.


/S/GARY L. LUMPKIN, Presiding Judge

/S/DAVID B. LEWIS, Vice-Presiding Judge

/S/ARLENE JOHNSON, Judge

/S/ROBERT HUDSON, Judge


ATTEST:

Clerk








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